Case 3:18-cv-00840-GPC-BGS Document 362-1 Filed 04/23/21 PageID.8746 Page 1 of 10




                         Exhibit A
Case 3:18-cv-00840-GPC-BGS Document 362-1 Filed 04/23/21 PageID.8747 Page 2 of 10
Case 3:18-cv-00840-GPC-BGS Document 362-1 Filed 04/23/21 PageID.8748 Page 3 of 10
Case 3:18-cv-00840-GPC-BGS Document 362-1 Filed 04/23/21 PageID.8749 Page 4 of 10
Case 3:18-cv-00840-GPC-BGS Document 362-1 Filed 04/23/21 PageID.8750 Page 5 of 10
Case 3:18-cv-00840-GPC-BGS Document 362-1 Filed 04/23/21 PageID.8751 Page 6 of 10
Case 3:18-cv-00840-GPC-BGS Document 362-1 Filed 04/23/21 PageID.8752 Page 7 of 10
Case 3:18-cv-00840-GPC-BGS Document 362-1 Filed 04/23/21 PageID.8753 Page 8 of 10
Case 3:18-cv-00840-GPC-BGS Document 362-1 Filed 04/23/21 PageID.8754 Page 9 of 10
Case 3:18-cv-00840-GPC-BGS Document 362-1 Filed 04/23/21 PageID.8755 Page 10 of 10




                  23
